

People v Delacruz (2021 NY Slip Op 05275)





People v Delacruz


2021 NY Slip Op 05275


Decided on October 1, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 1, 2021

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, LINDLEY, AND TROUTMAN, JJ. (Filed Oct. 1, 2021.) 


MOTION NO. (190/21) KA 18-00837.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMEMPHIS DELACRUZ, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for reargument denied.








